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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                       CRIMINAL NO. 1:07cr124LG-RHW

JIM DAVIS HULL, PAMELA HULL,
JACQUALINE CRAWLEY and CHENIQUA ELLIS

                                    ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses counts one (1) through four (4) and six (6) through eighteen (18) of the Criminal

Indictment against the defendants, JIM DAVIS HULL, PAMELA HULL, and JACQUALINE

CRAWLEY; and dismisses the entire Criminal Indictment against CHENIQUA ELLIS, all

without prejudice.


                                                     STAN HARRIS
                                                     Acting United States Attorney


Date: June 26, 2009                               s/ J. Scott Gilbert
                                                     By: J. SCOTT GILBERT
                                                     Assistant United States Attorney
                                                     Mississippi Bar No. 102123

       Leave of Court is granted for the filing of the foregoing dismissal.

       ORDERED this 29th day of June, 2009.




                                                     UNITED STATES DISTRICT JUDGE
